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                    ATTACHMENT
                               A
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF THE UNITED
 STATES OF AMERICA FOR AN ORDER Misc. No.
 PURSUANT TO 18 U.S.C. § 2703(d)
 DIRECTED AT GOOGLE RELATING     Filed Under Seal
 TO MULTIPLE ACCOUNTS



              APPLICATION OF THE UNITED STATES FOR AN ORDER
                 PURSUANT TO 18 U.S.C. § 2703(d) DIRECTED AT
                 GOOGLE RELATING TO MULTIPLE ACCOUNTS

       The United States of America, moving by and through its undersigned counsel, respectfully

submits under seal this ex parte application for an Order pursuant to 18 U.S.C. § 2703(d). The

proposed Order would require Google Inc. ("Google"), an electronic communication and/or

remote computing service provider located in Mountain View, CA, to disclose certain records and

other information pertaining to the Google account(s) associated with email address

                                                           as set forth in Part I of Attachment A

to the proposed Order. The records and other information to be disclosed are described in Part II

of Attachment A to the proposed Order. In support of this application, the United States asserts:

                      LEGAL BACKGROUND AND JURISDICTION

       1.      Google is a provider of an electronic communication service, as defined in 18

U.S.C. § 2510(15), and/or a remote computing service, as defined in 18 U.S.C. § 2711(2).

Accordingly, the United States may use a court order issued under section 2703(d) to require

Google to disclose the items described in Part II of Attachment A. See 18 U.S.C. § 2703(c)(2)

(Part ILA of Attachment A); 18 U.S.C. § 2703(c)(1) (Part II.B of Attachment A).

       2.      This Court has jurisdiction to issue the requested Order because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &
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(c)(1)(A). Specifically, the Court is a district court of the United States . . . that  has jurisdiction

over the offense being investigated. 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,

acts or omissions in furtherance of the offenses under investigation occurred within Washington,

DC. See 18 U.S.C. § 3237. Finally, the offenses under investigation are the subject of a grand

jury investigation in the District of Columbia.

        3.      A court order under section 2703(d) shall issue only if the governmental entity

offers specific and articulable facts showing that there are reasonable grounds to believe that . . .

the records or other information sought . . . are relevant and material to an ongoing criminal

investigation. See 18 U.S.C. § 2703(d). Accordingly, the next section of this application sets

forth specific and articulable facts showing that there are reasonable grounds to believe that the

records and other information described in Part II of Attachment A are relevant and material to an

ongoing criminal investigation.

                                     THE RELEVANT FACTS

        4.      The United States is investigating a scheme to illicitly procure items with the

purpose of evading U.S. sanctions against the Syrian regime. More specifically, these parties and

their co-conspirators employed sophisticated evasion techniques and front companies in dealing

with the U.S. financial system to disguise the true nature of their illicit business dealings, as well

as to protect and promote the on-going illicit procurement scheme. Payments made in connection

with these procurements were illegally sent in U.S. dollars on a number of occasions. The

investigation concerns possible violations of, inter alia, of the International Economic Emergency

Powers Act (IEEPA), codified at 50 U.S.C. § 1701 et seq.; Executive Order (E.O.) 13582,

Blocking Property of the Government of Syria and Prohibiting Certain Transactions with Respect

to Syria, and the money laundering statute, 18 U.S.C. § 1956.




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I.        Syrian Sanctions and            Procurement for the Syrian Regime

          5.    Syria has been designated a State Sponsor of Terrorism since December 1979.

Additional sanctions were added in May 2004 via E.O. 13582. Subsequent Executive Orders have

imposed additional sanctions targeting, among others, the President of Syria, Bashar al-Assad. On

May 18, 2011, the U.S. Department of the Treasury, Office of Foreign Assets Control (collectively,

"OFAC"), which is located in Washington, D.C., designated Assad and his chief lieutenants for

human rights abuses, including repression of the Syrian people, as well as having benefitted from

rampant corruption.

          6.    The investigation has revealed, based on subpoena returns, a Treasury Depth tinent

designation (described further below) and open source records, that                      is

                                                         which is affiliated with

                         ") in                                                 •              , and

                   were designated by OFAC on July 21, 2016 for procuring items on behalf of the

                                                     Law enforcement is aware that the         is a

Syrian government agency, which is believed to be responsible for research and development of

nuclear, biological, chemical, and missile technology. Specifically, the Treasury designation

stated:




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II.      Target Account 1 is Used by                      who is

         7.     Law enforcement has uncovered a number of social media and email accounts used

by        and                 . Pursuant to grand jury subpoenas, which were accompanied with

related nondisclosure orders, for the subscriber information for a number of the accounts

associated with      and                  as well as other individuals associated with the

        . See

         8.     Subpoena      returns   revealed       that     Facebook   ID:                   and

                           ("Target Account 1") are used by                        Specifically, both

accounts were registered to                  Additionally, both of these accounts listed the same

                                        on the contact information. Both accounts also logged in

from the same Syrian IP addresses on repeated occasions. Facebook account                  displayed

several pictures of Bashar al Assad.

III.     Target Account 2 is Used by                          an Assad Supporter

         9.     Subpoena returns for Target Account 1 revealed that

was listed as a secondary email address. Law enforcement is aware that a secondary email account

is a recovery account that is designated when registering a new email account. If the new account

is locked by the provider, or the user forgets the password, recovery information for accessing the

primary account is sent to the recovery account. Thus, the recovery account is very sensitive, as

it has the means to control the primary account. Law enforcement is further aware that co-

conspirators often link their accounts, as this provides a way for one co-conspirator to access /

delete another co-conspirator's account in case that co-conspirator becomes a government

cooperator or the account is the subject of legal process by the government.


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        10.    Based on the name of the                                  account, law enforcement

believes that this account is controlled by               , who (as noted above) operates

       with                . The fact that                has the recovery account for            email

account reflects that both                    jointly have access to Target Account 1. Based on a

search of publically available Facebook records,                                     is associated with

Facebook account               . This Facebook account has a registered display name of "=




        11.                      publicly advertises on the website                    which is one of

the world's largest e-commerce websites. In its advertisement, the                      lists it point of

contact as                          who law enforcement believes to be the same

who operates Target Accounts 1 and 2. The                  page also lists                   ' position

at                 as                                      The page also lists the




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IV.                          Has Sent Multiple Suspicious International Wire Transfers

         12.     The government issued grand jury subpoenas to multiple banks for international

financial transactions conducted in U.S. dollars by                       .     These returns show that

                    has conducted more than 30 wire transfers internationally, beginning in October

2013. These wires were primarily to                                                            As noted

above,                     was designated for providing support, which may include procuring

sensitive technologies, for the

         13.     On a number of these transactions,                           listed

                as its address, which matches the address listed on the Treasury designation. Upon

review of the         business listings, law enforcement learned that this address is used by at least

10 other companies. One of the other companies using this P.O. Box has also been designated by

OFAC.

         14.     Based on the above information, law enforcement believes that M             and

          are jointly engaged in a business to procure sensitive items from            through the

to their ultimate location in Syria, which is subject to sanctions.

         15.     Law enforcement is aware that criminal co-conspirators, money launderers, as well

as businessmen, communicate frequently through electronic mediums about their legitimate

businesses, illegitimate businesses, and the transfer/commingling of proceeds from such

businesses. Private messages and email offer a uniquely valuable form for such communication,

as they can be accessed from any location. Many such persons believe that such messages are

difficult to trace, which leads them to have inculpatory conversations.

         16.     Moreover, persons operating international money laundering operations typically

have to communicate via email with persons funding their operations, due to the time differences.

When transferring funds to co-conspirators, electronic communications normally occur to inform


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the other party that the money has been sent, followed up by communications that the money has

been received. I also know from prior investigations that subordinates in the management chain

must communicate to their superiors the status of their illegal tasks as well as receive new illegal

tasks.

         17.   Because criminals who communicate in such a way fear detection and require

multiple fake identities, they typically create numerous email accounts. Part of managing this vast

number of accounts often leads to the linking of accounts. This allows a single user the ability to

access as well as reset passwords for the multiple linked accounts. Law enforcement is aware that

the tracking and detection of linked accounts is one way by which a person and/or co-conspirators

can be identified. Moreover, the linking of an account can further demonstrate who has access

and/or control of an account.

         18.   The header information of these communications can reveal the scope of the

contacts between the money launders and can identify important co-conspirators. The metadata

associated with these accounts will assist law enforcement in uncovering the extent of this network,

as well as further identify the users of these accounts. This information is relevant to criminal

proceedings and their associates.

                                    REQUEST FOR ORDER

         19.   The facts set forth in the previous section show that there are reasonable grounds

to believe that the records and other information described in Part II of Attachment A are relevant

and material to an ongoing criminal investigation. Specifically, these items will help the United

States to identify and locate the individual(s) who are responsible for the criminal activity under

investigation, and to determine the nature and scope of that criminal activity. Accordingly, the

United States requests that Google be directed to produce all items described in Part II of

Attachment A to the proposed Order.


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       20.     The United States further requests that the Order require Google not to notify any

other person of the existence of the Order, including the subscriber or customer of each account

identified in Attachment A. See 18 U.S.C. § 2705(b). Acting under 18 U.S.C. § 2703(c)(1)-(2),

the Government "is not required to provide notice to a subscriber or customer" regarding the

proposed Order. See 18 U.S.C. § 2703(c)(3). Furthermore, this Court has authority under 18

U.S.C. § 2705(b) to issue "an order commanding a provider of electronic communications service

or remote computing service to whom . . . [the] court order is directed, for such period as the court

deems appropriate, not to notify any other person of the existence of . . . [the] court order." See

18 U.S.C. § 2705(b). Such a "nondisclosure order" must be issued if this Court finds "reason to

believe that notification . . . will result in—(1) endangering the life or physical safety of an

individual; (2) flight from prosecution; (3) destruction of or tampering with evidence; (4)

intimidation of potential witnesses; or (5) otherwise seriously jeopardizing an investigation or

unduly delaying a trial." Id.; see In re Application for Order of Nondisclosure Pursuant to 18

U.S.C. 5C 2705(b) for Grand Jury Subpoena                              41 F. Supp. 3d 1, 5 (D.D.C.

2014) ("Once the government makes the required showing under § 2705(b), the court is required

to issue the non-disclosure order.").

       21.     An order of nondisclosure is necessary because the proposed Order relates to an

ongoing criminal investigation that is neither public nor known to the target(s) of the investigation,

and its disclosure may alert the target(s) to the ongoing investigation. Once notified, potential

target(s) would be prompted to destroy or conceal incriminating evidence, change patterns of

behavior to evade future detection, and otherwise attempt to undermine the investigation and avoid

prosecution. Accordingly, there is reason to believe that notification of the existence of the

proposed Order would seriously jeopardize the investigation, including by giving potential




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target(s) an opportunity to flee from prosecution, destroy or tamper with evidence. See 18 U.S.C.

§ 2705(b)(2)(3)(5).

       22.     Given the complex nature of the criminal activity under investigation, potential

involvement of foreign-based perpetrators, and/or foreign-based evidence, the Government

anticipates that this investigation will remain ongoing and confidential for a year or longer.

However, if circumstances were to change such that the requested order of nondisclosure becomes

no longer necessary, the Government will notify the Court and seek appropriate relief.

       23.     In this matter, the Government also requests that the instant Application and the

Order be filed under seal. The Court has the inherent power to seal court filings when appropriate,

including the proposed Order. United States v. Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980)

(citing Nixon v. Warner Communications, Inc., 435 U.S.                   )). More particularly, the

Court may seal the Application and Order to prevent serious jeopardy to an ongoing criminal

investigation when such jeopardy creates a compelling governmental interest in confidentiality.

See Washington Post v. Robinson, 935 F.2d 282, 287-89 (D.C. Cir. 1991). For the reasons stated

above, the Government has a compelling interest in confidentiality to justify sealing the

Application and Order. See id.



                                                     Respectfully submitted,

                                                     CHANNING D. PHILLIPS
                                                     UNITED STATES ATTORNEY

                                               By:            /s/
                                                      Zia M. Faruqui, D.C. Bar No.
                                                      Assistant United States Attorney
                                                      United States Attorney's Office
                                                      555 4th Street NW, 4th Floor
                                                      Washington, D.C. 20530




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF THE UNITED
 STATES OF AMERICA FOR AN ORDER Misc. No. ____________________
 PURSUANT TO 18 U.S.C. § 2703(d)
 DIRECTED AT GOOGLE RELATING     Filed Under Seal
 TO MULTIPLE ACCOUNTS


                                             ORDER

       The United States has submitted an Application pursuant to 18 U.S.C. § 2703(d),

requesting that the Court issue an Order requiring Google Inc. (Google), an electronic

communication and/or remote computing service provider located in Mountain View, CA, to

disclose the records and other information described in Attachment A to this Order. The Court

finds that the United States has offered specific and articulable facts showing that there are

reasonable grounds to believe that the records or other information sought are relevant and material

to an ongoing criminal investigation. Furthermore, the Court determines that there is reason to

believe that notification of the existence of this Order will seriously jeopardize the ongoing

investigation, including by giving targets an opportunity to flee from prosecution, and destroy or

tamper with evidence. See 18 U.S.C. § 2705(b)(2),(3),(5).

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 2703(d), that Google shall,

within ten days of the date of this Order, disclose to the United States the records and other

information described in Attachment A to this Order.

       IT IS FURTHER ORDERED under 18 U.S.C. § 2705(b) that Google shall not disclose the

existence of this Order of the Court to any other person for a period of one year or until otherwise

ordered by the Court, except that Google may disclose this Order to an attorney for Google for the

purpose of receiving legal advice.
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       IT IS FURTHER ORDERED that the Application and this Order are sealed until otherwise

ordered by the Court.




_____________                                    __________________________________
Date                                             HON. G. MICHAEL HARVEY
                                                 UNITED STATES MAGISTRATE JUDGE



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       Assistant United States Attorney
       United States Attorneys Office
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       Washington, D.C. 20530
       (202) 252-7117
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                                        ATTACHMENT A

I. The Account(s)

         The Order applies to certain records and other information for any Google account(s)

associated with the following identifier(s):

            •
            •

   II.      Records and other information to be disclosed

         Google is required to disclose to the United States the following records and other

information, if available, for each account or identifier listed in Part I of this Attachment

("Account"), and for any account linked to such account or identifier by alternate email address,

telephone number, payment information, cookies, GUID, or registration IP address ("Linked

Accounts"), for the time period from January 1, 2013 to the Present:

   A. For the Account and for all Linked Accounts, information about the customer(s) or
      subscriber(s) thereof:

         1. Names (including subscriber names, user names, and screen names);

         2. Addresses (including mailing addresses, residential addresses, business addresses, and
            email addresses);

         3. Records of session times and durations (including the IP addresses associated with
            those sessions);

         4. Length of service (including start date) and types of service utilized;

         5. Telephone or instrument number or other subscriber number or identity (including
            device identification and the Internet Protocol (IP) address associated with registration,
            and MAC addresses); and

         6. Means and source of payment for such service (including any credit card or bank
            account number) and billing records.
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 B. For the Account, but not for Linked Accounts, all records and other information
    relating thereto (except the contents of communications):

    1. Records of user activity for each connection made to or from the Account(s), including
       log files; messaging logs; the date, time, length, and method of connections; data
       transfer volume; user names; and source and destination Internet Protocol addresses;

    2. Information about each electronic communication sent or received by the Account(s),
       including the date and time of the communication, the method of communication, and
       the source and destination of the communication (such as source and destination email
       addresses, IP addresses, and telephone numbers), and any other associated header or
       routing information.




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        CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS RECORDS
               PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)


         I, ______________________________, do hereby attest, under penalties of perjury under

the laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information

contained in this declaration is true and correct. I am employed by Google Inc. (Google), and

my official title is ______________________________. I am a custodian of records for Google.

I state that each of the records attached hereto is the original record or a true duplicate of the

original record in the custody of Google, and that I am the custodian of the attached records

consisting of __________ (pages/CDs/kilobytes). I further state that:

         a.     All records attached to this certificate were made at or near the time of the

occurrence of the matter set forth, by, or from information transmitted by, a person with

knowledge of those matters;

         b.     Such records were kept in the ordinary course of a regularly conducted business

activity of Google; and

         c.      Such records were made by Google as a regular practice.

         I further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules of Evidence.




 Date                                   Signature
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                                         ATTACHMENT A

I. The Account(s)

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associated with the following identifier(s):




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         4. Length of service (including start date) and types of service utilized;

         5. Telephone or instrument number or other subscriber number or identity (including
            device identification and the Internet Protocol (IP) address associated with registration,
            and MAC addresses); and

         6. Means and source of payment for such service (including any credit card or bank
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